        Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 1 of 14




KOLLER LAW LLC
David M. Koller, Esquire (90119)                           Counsel for Plaintiff
2043 Locust Street, Suite 1B
Philadelphia, PA 19103
T: 215-545-8917
davidk@kollerlawfirm.com

                   UNITED STATES DISTRICT COURT
              IN THE MIDDLE DISTRICT OF PENNSYLVANIA

MARYJO DELANEY                                :
110 Commerce St                               :
Lock Haven, PA 17745                          :     Civil Action No.
                Plaintiff,                    :
                                              :     Complaint and
      v.                                      :     Jury Demand
                                              :
ADVANTAGE SALES LTD. and
MICAH CLAUSEN, Individually                   :
141 3rd Ave                                   :
Lock Haven, PA 17745                          :
                                              :
                    Defendants.               :
                                              :

                                  COMPLAINT

      Plaintiff, MaryJo Delaney, by and through her counsel, Koller Law LLC, by

way of Complaint, alleges that her rights, pursuant to the Families First

                                        have been violated. In support thereof,

Plaintiff avers as follows:

                     IDENTIFICATION OF THE PARTIES

   1. Plaintiff, MaryJo Delaney                            is an adult individual

who is domiciled at address listed above.
        Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 2 of 14




   2. Defendant, Advantage Sales Ltd. (hereinafter                     is a company

engaged in the retail sale of a general line of apparel, dry goods, hardware,

housewares or home furnishings, and groceries.

   3. Defendant, Micah Clausen (hereinafter



   4. At all times material hereto, Plaintiff was an eligible employee under the

FFCRA.

   5. Defendant is a company with less than 500 employees.

   6. At all times material hereto, Defendant was an eligible employer under the

FFCRA.

                          JURISDICTION AND VENUE

   7. The allegations contained in the foregoing paragraphs of this Complaint are

incorporated by reference herein as if the same were set forth at length.

   8. The FFCRA is a federal law and so this court maintains federal question

jurisdiction over this matter.

   9. Venue is properly laid in the Middle District of Pennsylvania pursuant to 28

U.S.C. §§ 1391 (b)(1) and 1931 (b)(2) because Defendant is located in and/or

regularly conduct business in this judicial district and because the acts and/or

omissions giving rise to the claims set forth herein occurred in this judicial district.




                                           2
        Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 3 of 14




                               MATERIAL FACTS

   10.Plaintiff incorporates the preceding paragraphs as if set forth more fully at

length herein.

   11. In or around September 2014, Defendant hired Plaintiff as a Processing

Manager.

   12. Plaintiff reported to Defendant Clausen, President of Defendant.

   13. Plaintiff was qualified for her position and performed well.

   14. On March 20, 2020, Defendant Clausen issued a statement regarding

                                          Sustaining Businesses close by 8:00 pm

on March 19, 2020. In this statement, Defendant Clausen stated that Defendant

fell within an exception (i.e., Electronic Shopping and Mail-Order House), and that

Defendant was permitted to remain open.

   15. In this same statement, Defendant Clausen

           wishing to avoid potential contact with the virus from the work

environment at [Defendant] may volunteer to be laid off. Any employee choosing



   16. On March 13, 2020, Governor Wolf had announced that all K-to-12

Pennsylvania schools would be closed for ten business days effective March 16,

2020.




                                          3
         Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 4 of 14




   17. Governor Wolf subsequently extended the school closure order through the

remainder of the 2019/2020 school year.

   18. Plaintiff had a nine-year-old son, who attended third grade at Dickey

Elementary School.

   19.                                                        Elementary School

closed on or around March 16, 2020, and it remained closed until the end of the

2019/2020 school year.

   20.                                                was closed, Plaintiff elected

to be voluntarily laid off under the terms of                            20, 2020

statement.

   21. Beginning on or around March 27, 2020, Plaintiff was on a voluntary

layoff from Defendant.

   22. On or around Wednesday, May 13, 2020, Defendant Clausen called

Plaintiff by telephone to inform her that Defendant was calling all employees who

had requested a voluntary layoff to return to work, effective Monday, May 18,

2020.

   23. On Monday, May 18, 2020, Plaintiff reported to work as instructed.

   24. On May 18, 2020, Plaintiff met with Defendant Clausen in person. During

this meeting, Plaintiff explained that Dickey Elementary School, the school where

her nine-year-old son attended, remained closed. Plaintiff requested that she adjust


                                          4
        Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 5 of 14




her schedule so that she worked only from 8:00 am to 2:00 pm for the next three

weeks, or until the end of the 2019/2020 school year. Plaintiff also explained that

she could not work after 8:00 pm. Plaintiff further stated that if Defendant could

not accommodate her schedule request, then she needed information on FFCRA

                                              and she requested FFCRA leave.

   25. Defendant Clausen concluded the meeting by stating that he needed time to

consider

   26. On Tuesday, May 19, 2020, Plaintiff again met with Defendant Clausen in



   27. During the May 19th meeting, Defendant Clausen

           schedule was not workable because she was a manager. Defendant

Clausen further stated that Plaintiff was smart and creative and could figure

something out. Defendant Clausen then threw printouts on the table, showing that

                                                 pm, and

    Plaintiff was no longer available to work. Defendant Clausen then stated that

if Plaintiff took FFCRA leave, then she would be demoted when she returned.

Plaintiff was appalled and taken aback by                                and

comments.




                                          5
         Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 6 of 14




   28. Defendant refused to allow Plaintiff to take FFCRA leave, and it refused to

allow Plaintiff to use FFCRA leave for the reduction in hours due to the closure of



   29. On May 20, 2020, Plaintiff again met with Defendant Clausen. Plaintiff

informed him that, as a manager, if she had spoken to one of her direct reports in

the manner in which Defendant Clausen had spoken to her, it would be

unacceptable, and that it was not acceptable for Defendant Clausen to use profanity

and speak to her in that manner. Defendant Clausen agreed with Plaintiff.

Plaintiff further stated that                            to demote her if she took

leave under the FFCRA was retaliatory.

   30. Thereafter, Plaintiff proceeded to work from 8:00 am to 2:00 pm and she

worked extra hours to make up any missed time.

   31. However, Defendant Clausen immediately began to overly scrutinize and

                                       and subject Plaintiff to unfair criticism.

   32. Prior to requesting FFCRA leave, Defendant Clausen did not nitpick and

scrutinize

   33.

             who had not taken leave were not subjected to similar criticism.

   34. On June 2, 2020, Plaintiff requested to meet with Defendant Clausen to

discuss her unfair treatment since she had requested either an adjusted schedule or


                                           6
         Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 7 of 14




FFCRA leave



   35. In response to her request, Defendant Clausen stated that he wanted to wait

for Josh Groves, Supervisor, before commencing the meeting. Plaintiff jokingly

asked,         I in trouble, to which Defendant Clausen



   36. Once Mr. Groves arrived, Plaintiff proceeded to complain about the unfair

treatment and criticism to which she had been subjected during the previous two

weeks after requesting FFRCA leave. In response, Mr. Groves dismissively told

Plaintiff that she wa

   37. Defendant Clausen then proceeded to state that he had viewed video

footage from May 28, 2020 and June 1, 2020, and stated that when Plaintiff



   38. Rather than faulting the employees whose productivity had decreased,

Defendant Clausen unfairly blamed Plaintiff.

   39.The June 2, 2020 meeting was the first time that anyone at Defendant had

raised any issue or concern with Plaintiff regarding productivity.

   40. Defendant Clausen then issued Plaintiff a discipline for failing to manage

effectively.




                                           7
        Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 8 of 14




   41. Plaintiff had not previously been disciplined or counseled for management

or productivity.

   42. Although Defendant had a 5-step progressive discipline policy, Defendant

ignored its own discipline policy.

   43. Instead, Defendant Clausen proceeded to demote Plaintiff, effective

immediately, from a Processing Manager to a Processing Crew Member.

   44. Defendant Clausen further stated that Plaintiff would remain in the

Processing Crew Member position for one

             would be evaluated. At the conclusion of one month, Defendant

Clausen stated that Plaintiff would either remain in the Processing Crew Member

position at a lower hourly rate or she would be terminated.

   45. Plaintiff was shocked by her demotion and unfair treatment by Defendant.

   46. Indeed, Defendant had not previously raised any concern with productivity

with Plaintiff, affording her no opportunity to correct any alleged or perceived

issue, before unfairly demoting Plaintiff and threatening with termination.

   47. As a result of Defendants retaliatory treatment, unwarranted demotion and



       but to submit her resignation, and was constructively discharged.

                   COUNT I INTERFERENCE
      FAMILIES FIRST CORONAVIRUS RESPONSE ACT (FFCRA)
               MaryJo Delaney v. Advantage Sales Ltd.


                                          8
          Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 9 of 14




   48. Plaintiff incorporates the preceding paragraphs as if set forth more fully at

length herein.

   49. Plaintiff was eligible for leave under the FFCR.

   50.

      for

school was closed as a result of COVID-19.

   51.Plaintiff gave Defendant proper notice of her need for FFCRA leave.

   52. Defendant threatened to demote Plaintiff to a non-managerial position if

she took FFCRA leave.

   53.Plaintiff was entitled to FFCRA.

   54.Plaintiff attempted to exercise her rights under the FFCRA.

   55.Defendant unlawfully prevented Plaintiff from obtaining those benefits.

   56.                                                                      for FFCRA

         leave.

   57. Defendant knowingly, intentionally, willfully and/or recklessly acted in

                                                                  request for leave.

   58. As a result of Defendant discrimination, Plaintiff suffered adverse

employment actions causing her harm.

   WHEREFORE, Plaintiff, MaryJo Delaney, requests that the Court grant her

the relief against Defendant set forth in the Prayer for Relief clause, infra.


                                           9
          Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 10 of 14




                      COUNT II RETALIATION
         FAMILIES FIRST CORONAVIRUS RESPONSE ACT (FFCRA)
                  MaryJo Delaney v. Advantage Sales Ltd.

   59.The foregoing paragraphs incorporated by reference herein as if the same

were set forth at length.

   60.Plaintiff was eligible for FFCRA Leave.

   61.

      for FFCRA leave because her nine-year-                              school was

closed.

   62.Plaintiff requested FFCRA leave.

   63.Plaintiff was entitled to benefits under the FFCRA.

   64.Plaintiff attempted to exercise her FFCRA rights.

   65.

          her to a non-managerial position.

   66. After requesting FFCRA leave, Defendant immediately began to retaliate

against Plaintiff by overly scrutinizing her work performance, subjecting her to



             demotion with a threat of termination, and, ultimately, constructive

discharge.

   67.                                            Plaintiff was connected causally to

                    for FFCRA leave.


                                           10
         Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 11 of 14




   68.Defendant has acted in bad faith by retaliating against Plaintiff in violation of

the FFCRA.

   69.

   and was deprived of economic and non-economic benefits resulting from

                                          actions including but not limited to: loss of

back pay, loss o

           cost of providing care, and liquidated damages under the FFCRA.

   WHEREFORE, Plaintiff, MaryJo Delaney, requests that the Court grant her

the relief against Defendant set forth in the Prayer for Relief clause, infra.

              COUNT III INTERFERANCE/RETALIATION
         FAMILIES FIRST CORONAVIRUS RESPONSE ACT (FFCRA)
                     MaryJo Delaney v. Micah Clausen

   70.The foregoing paragraphs incorporated by reference herein as if the same

         were set forth at length.

   71.Plaintiff was eligible for FFCRA Leave.

   72.At all times material, Defendant Clausen knew, or should have known, of

                                     leave because her nine-year-

         school was closed.

   73.Plaintiff requested FFCRA leave.

   74.Plaintiff was entitled to benefits under the FFCRA.

   75.Plaintiff attempted to exercise her FFCRA rights.


                                           11
      Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 12 of 14




76.

                 to demote Plaintiff to a non-managerial position if she took the

      requested FFRCRA leave.

77.Thereafter, Defendant Clausen immediately began to retaliate against

      Plaintiff by overly scrutinizing her work performance, subjecting her to



                   discipline, demotion with a threat of termination, and,

      ultimately, constructive discharge.

78.Defendant Clausen was involved in the decision to issue Plaintiff an

      unwarranted discipline.

79.Defendant Clausen was involved in the decision to demote Plaintiff.

80.Defendant Clausen issued the threat to terminate Plainti

81.

82.Defendant Clausen did not act in good faith.

83.

          rights under the FFCRA.

84.There is a causal lin

              including the unwarranted discipline, demotion and constructive

      discharge of Plaintiff.

85.


                                        12
       Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 13 of 14




      WHEREFORE, Plaintiff, MaryJo Delaney, requests that the Court grant

her the relief against Defendant set forth in the Prayer for Relief clause, infra.

                               PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, MaryJo Delaney, requests that the Court grant her

the following relief against Defendants:

      a)

                     termination;

      b) Compensatory damages;

      c) Liquidated damages;

      d)

      e) Recoverable costs;

      f) Pre and post judgment interest;

      g) An allowance to compensate for negative tax consequences;

      h) Order Defendant to remove and expunge, or to cause to be removed and

           expunged, all negative, discriminatory, and/or defamatory memoranda

                                                                                     but

           not limited to, the pre-textual reasons cited for his adverse actions,

           disciplines, and termination; and

      i) Awarding any/all other extraordinary, equitable and/or injunctive relief

           as permitted by law, equity and the statutory provisions sued hereunder.


                                           13
      Case 4:20-cv-01644-MWB Document 1 Filed 09/11/20 Page 14 of 14




                                         Respectfully Submitted,
                                         KOLLER LAW LLC


                                         /s/ David M. Koller
Dated: September 11, 2020                David M. Koller, Esquire
                                         2043 Locust Street, Suite 1B
                                         Philadelphia, PA 19103
                                         (t) 215-545-8917
                                         (f) 215-575-0826
                                         davidk@kollerlawfirm.com

                                         Counsel for Plaintiff




                                    14
